              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                          Plaintiff,     )
                                         )
        vs.                              )
                                         )     No. 15-03051-02-CR-S-MDH
                                         )
RONDA L. EASTON,                         )
                                         )
                          Defendant.     )

                          REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts One, Three and Ten and admitted

to the Forfeiture Allegations Three, Four and Five contained in the

Second Superseding Indictment filed on August 25, 2015.                  After

cautioning and examining the Defendant under oath concerning each

of the subjects mentioned in Rule 11, I determined that the guilty

pleas were knowledgeable and voluntary, and that the offenses charged

are supported by a factual basis for each of the essential elements

of the offenses.    I therefore recommend that the pleas of guilty be

accepted and that the Defendant be adjudged guilty and have sentence

imposed accordingly.



Date:     June 29, 2016                   /s/ David P. Rush
                                         DAVID P. RUSH



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                                       UNITED STATES MAGISTRATE JUDGE



                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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